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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 15-1357V
                                    Filed: January 31, 2018
                                        UNPUBLISHED


    PRISCILLA BRIERTON,
                                                             Special Processing Unit (SPU); Joint
                        Petitioner,                          Stipulation on Damages; Influenza
    v.                                                       (Flu) Vaccine; Guillain-Barre
                                                             Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Scott R. Doody, Law Offices of Scott R. Doody, Fort Worth, TX, for petitioner.
Sarah Christina Duncan, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION1

Dorsey, Chief Special Master:

       On November 12, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain-Barré Syndrome (“GBS”) as
a result of the influenza vaccine she received on November 12, 2013. Petition at 1;
Stipulation, filed January 31, 2018, at ¶ 4. Petitioner further alleges that she
experienced the residual effects of her GBS condition for more than six months. Id.
“Respondent denies that the influenza immunization is the cause of petitioner's alleged
GBS or any other injury or her current condition.” Stipulation at ¶ 6.

        Nevertheless, on January 31, 2018, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

            a. A lump sum of $226,517.69 which amount represents compensation
               for first year life care expenses ($11,517.69) and combined pain and
               suffering and past unreimbursable expenses ($215,000.00), in the
               form of a check payable to petitioner; and

            b. An amount sufficient to purchase the annuity contract described in
               paragraph 10 of the attached stipulation, paid to the life insurance
               company from which the annuity will be purchased (the “Life
               Insurance Company”).

        Stipulation at ¶ 8.

       This amount represents compensation for all items of damages that would be
available under 42 U.S.C. § 300aa-15(a). Id.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

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